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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

 

x
UNITED STATES OF AMERICA,
21 Cr. 466 (S-1) (HG)
-against-
NOTICE OF MOTION
FOR ADDITIONAL DISCOVERY
RALPH DiMATTEO, et al., : AND BILL OF PARTICULARS
Defendants.
x
COUNSEL:

PLEASE TAKE NOTICE that, upon the accompanying declaration of Gerald J.
McMahon, sworn to on November 14, 2022, and the accompanying memorandum of law,
dated November 14, 2022, and all the prior proceedings, defendant Ralph DiMatteo
(“DiMatteo” or “defendant’”) will move this Court, at a date and time to be set by the Court,
for an order:

A. Pursuant to Fed.R.Crim.P. 7(f) and Rule 16, directing the government to provide
additional discovery and a limited bill of particulars;

B. Granting defendant DiMatteo leave to join in the motions of co-defendants to the
extent they are applicable to him; and

C. Granting defendant DiMatteo such other and further relief as the Court deems just
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and proper.

Dated: Scotch Plains, New Jersey
November 14, 2022

Milbflle—

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To: All Counsel
(By ECF)
